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                   UNITED STATES DISTRICT COURT
                  CENTRAL DISTRICT OF CALIFORNIA




     UNITED STATES OF AMERICA,           CR 16-00390(A)-DSF-39
         Plaintiff,
                                         Order DENYING Defendant’s
                     v.                  Motion for Judgment of Acquittal
                                         or, in the Alternative, a New
     JOSE LOZA, et.al.,                  Trial (Dkt. 4003)
         Defendants.



          After a ten-day jury trial, Defendant Michael Salinas was found
    guilty on two counts: racketeering conspiracy and drug trafficking
    conspiracy. Dkt. 3909 (Verdict). He moves for a judgment of acquittal
    under Federal Rule of Criminal Procedure 29, or in the alternative, for
    a new trial under Rule 33. For the reasons stated below, the motion is
    DENIED.

                              I. BACKGROUND

           Defendant was charged with racketeering conspiracy and drug
    trafficking conspiracy based on his role in the Canta Ranas
    Organization (CRO). Members of the CRO sell drugs and extort “taxes”
    from other drug dealers, remitting a portion of the proceeds to their
    leader David Gavaldon. The evidence at trial showed that Defendant
    had numerous CRO-related tattoos showing his membership in the
    organization. He also spoke over the phone to other CRO members,
    discussing selling drugs in the prison and paying David Gavaldon from
    the proceeds. The evidence also included recorded conversations about
    individuals who were falsely claiming to work for David Gavaldon and
    Defendant’s offers to assault those individuals, including evidence
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    involving one such assault. Based on this and other evidence, the jury
    convicted Defendant on both counts.

                            II. LEGAL STANDARD

    A.    Rule 29

           The Court must “enter a judgment of acquittal if the Government
    fails to present sufficient evidence to sustain a conviction.” United
    States v. Miller, 953 F.3d 1095, 1108 (9th Cir. 2020) (quoting United
    States v. Dearing, 504 F.3d 897, 900 (9th Cir. 2007)). Evidence is
    sufficient if, “‘view[ed] . . . in the light most favorable to the
    prosecution, any rational trier of fact could have found the essential
    elements of the crime beyond a reasonable doubt.’” Id. (alterations in
    original). “[E]vidence is insufficient to support a verdict where mere
    speculation, rather than reasonable inference, supports the
    government’s case.” United States v. Nevils, 598 F.3d 1158, 1167 (9th
    Cir. 2010). “Conflicting evidence is to be resolved in favor of the jury
    verdict,” United States v. Corona-Verbera, 509 F.3d 1105, 1117 (9th
    Cir. 2007), and “[t]he hurdle to overturn a jury’s conviction based on a
    sufficiency of the evidence challenge is high.” United States v. Rocha,
    598 F.3d 1144, 1153 (9th Cir. 2010).

    B.    Rule 33

           The Court may set aside the jury verdict and order a new trial “if
    the interest of justice so requires.” Fed. R. Crim. P. 33(a). A motion for
    a new trial should be granted only “in exceptional circumstances in
    which the evidence weighs heavily against the verdict.” United States
    v. Del Toro-Barboza, 673 F.3d 1136, 1153 (9th Cir. 2012) (quoting
    United States v. Pimentel, 654 F.2d 538, 545 (9th Cir. 1981). “The
    court is not obliged to view the evidence in the light most favorable to
    the verdict, and it is free to weigh the evidence and evaluate for itself
    the credibility of the witnesses.” United States v. Kellington, 217 F.3d
    1084, 1097 (9th Cir. 2000). “[A] decision to grant or deny a new trial is
    within the sound discretion of the district court.” United States v.
    Steel, 759 F.2d 706, 713 (9th Cir. 1985).




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                               III. DISCUSSION

    A.    Evidence related to the 2016 Stabbing Incident

          1.    Inclusion of Evidence

           Defendant contends that the Court erred in permitting the
    government to introduce testimony related to a 2016 stabbing incident
    in which Defendant purportedly stabbed a fellow inmate to enforce the
    authority of the CRO because such testimony was “character evidence
    based on hearsay.” Mot. at 8. The Court previously determined that
    this evidence “is direct evidence of [Defendant’s] connection to, and role
    in, the conspiracy” and was therefore admissible. Dkt. 3803 (2/4/20
    MIL Order) at 2-3. Defendant contends that a late-disclosed “non-
    testifying cooperator provided an alternative explanation for Defendant
    committing the stabbing in 2016” that was evidence “impeaching of the
    testifying cooperator’s statements and, in fact, undermined the
    evidentiary basis for introduction of the testifying cooperator’s
    statements in the first instance.” Mot. at 9-10. However, as the Court
    previously concluded, “potentially conflicting evidence is not a basis to
    exclude the 2016 Incident.” 2/4/20 MIL Order at 3. To the extent
    Defendant’s position is based on the opinion that the witness who
    testified as to Defendant’s stated motive for committing the assault was
    lying, Defendant had the opportunity to cross-examine him. See Dkt.
    4020 (2/20/20 AM Tr.) at 137-147; Dkt. 4014 (2/20/20 PM Tr.) at 152-
    173. Therefore, it is not correct that the witness’s credibility “could not
    have been properly considered by the jury as they were never presented
    with the non-testifying cooperator’s alternative, and exculpatory,
    explanation for the incident.” Dkt. 4042 (Reply) at 3. Defendant
    otherwise repeats the same arguments here that the Court considered
    – and rejected – when it ruled on the initial motion in limine and the
    two renewed motions in limine. Nothing has changed to warrant
    reconsideration of those Orders.

          In addition, Defendant fails to show that the admission of this
    evidence prejudiced him enough to warrant a judgment of acquittal or


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    new trial. The government produced ample evidence to support the
    jury’s verdict, including Defendant’s tattoos and his conversations with
    other CRO members regarding smuggling drugs into the prison and
    funneling the proceeds to David Gavaldon. Defendant’s argument that
    his “membership of the charged RICO organization consisted almost
    entirely of speculation and inference,” Mot. at 8; see also Reply at 2
    (“Other than this prison fight, the evidence against defendant was
    solely phone conversations regarding his purported ability to sell drugs
    in prison, (uncorroborated by evidence to verify such sales) and
    whether a fellow inmate had the blessings of a gang higher-up”),
    ignores the government’s evidence and is therefore unconvincing.

          2.    Brady Challenge

           The Court also rejects Defendant’s related contention that the
    late disclosure of the non-testifying cooperator was a Brady violation.
    “To receive a new trial because of a Brady violation, a defendant must
    show: ‘(1) the evidence was exculpatory or impeaching; (2) it should
    have been, but was not produced; and (3) the suppressed evidence was
    material to his guilt or punishment.’” United States v. Houston, 648
    F.3d 806, 813 (9th Cir. 2011) (quoting United States v. Antonakeas, 255
    F.3d 714, 725 (9th Cir. 2001)). “[T]here is no Brady violation so long as
    the exculpatory or impeaching evidence is disclosed at a time when it
    still has value.” Id. The non-testifying cooperator was disclosed to
    Defendant on January 30, 2020, nearly two weeks before trial began.
    Although an interview between the cooperator and Defense counsel was
    not scheduled until February 16, 2020, after the trial had begun,
    Defendant had not begun presenting his case and the testifying
    cooperator had not yet been called to the witness stand. Therefore,
    Defendant had the opportunity to cross-examine the testifying witness
    after the disclosure. To the extent the non-testifying cooperator’s
    potential testimony ever held value, that value still existed at the time
    the cooperator was disclosed.

         In any event, the non-testifying cooperator’s potential testimony
    was not material under Brady because there was not “a reasonable
    probability that the result of the proceeding would have been different


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    had it been disclosed to the defense.” Id. (quoting Antonakeas, 255
    F.3d at 725). Defense counsel attempted to interview the cooperator,
    but the cooperator refused to answer any questions, as he did with
    counsel for another co-defendant. Further, there was no indication that
    the cooperator’s testimony would be admissible. See United States v.
    Kennedy, 890 F.2d 1056, 1059 (9th Cir. 1989) (“To be material under
    Brady, undisclosed information or evidence acquired through that
    information must be admissible.”). The summary prepared by the
    government stated only that the non-testifying cooperator “heard” that
    Defendant stabbed the other inmate without permission, that his
    “opinion” was that there would have been two aggressors if the attack
    was sanctioned, and that he “believed” Defendant committed the
    assault to get transferred to another prison. Defendant contends that
    “[h]ad the Government provided the non-testifying cooperator’s
    statements in a timely fashion rather than waiting 40 days until the
    eve of trial to make disclosure, substantially more time would have
    existed to attempt to obtain a more detailed statement from the non-
    testifying cooperator.” Reply at 3. But the suggestion that an
    additional month with the interview summary would have produced
    some admissible, exculpatory evidence is pure speculation and not
    grounds for a new trial.

          3.    Exclusion of Evidence

          Defendant contends it was error for the Court not to permit “the
    non-testifying cooperator’s statements . . . through examination of the
    case agent who was present at the interview.” Mot. at 11. As the Court
    previously noted, the non-testifying cooperator’s statements were
    inadmissible hearsay and speculation. Again, nothing has changed to
    warrant reconsideration of that opinion.

           Defendant’s request for a judgment of acquittal or new trial
    based on the admission of the 2016 stabbing incident and the exclusion
    of the cooperator’s statement is DENIED.




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    B.    Coded Language Testimony

           Defendant next contends that the Court erred in admitting
    testimony from three expert witnesses on coded language, Rene
    Enriquez, Officer Robert Rodriquez, and Special Agent Steve Paris –
    particularly Paris, who provided only “generalized notes regarding his
    anticipated testimony” just prior to testifying. Mot. at 12. But the
    Court addressed the government’s disclosure of Paris’s testimony on
    coded language prior to trial. See Dkt. 3717 (1/7/20 MIL Order) at 8-9.
    Additionally, the Court has previously concluded that the disclosures
    for all three experts were sufficient, particularly considering that the
    government continued to make disclosures up to trial. That the
    government made an additional disclosure during trial relating to
    Paris’s testimony, which was not substantially different from the
    pretrial disclosure, does not warrant reconsideration of that decision.

          And Defendant does not identify any particular testimony that
    was improper or explain why any testimony was improper. The Court
    previously held that coded language testimony from these three experts
    could be helpful to the jury because certain phrases “will not have the
    same meaning for a juror as it does for a gang member.” 1/7/20 MIL
    Order at 10. This turned out to be true with phrases such as “black girl
    Moesha” and “shining light.” The coded language testimony was proper
    expert testimony.

           Additionally, Defendant was not prejudiced by the coded
    language testimony. Although the testimony as to certain coded words
    was likely helpful to the jury, that does not mean that the phone calls
    were otherwise meaningless. Substantial portions of the phone
    conversations were understandable to a lay person. See Opp’n at 1-3
    (collecting evidence). The Court disagrees with Defendant’s contention
    that “[h]ad the coded language testimony been properly excluded, it is
    doubtful Defendant could have been convicted on either count,” Mot. at
    12. Even without the coded language testimony, the telephone calls
    themselves, along with the testimony of other witnesses, provided
    ample evidence of Defendant’s criminal activities.




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         Defendant’s request for a judgment of acquittal or new trial
    based on the admission of coded language testimony is DENIED.

    C.    Testimony of Rene Enriquez

          Defendant contends that the Court erred in permitting the
    government to call Rene Enriquez as both an expert and percipient
    witness. Mot. at 12-13. But the government clearly delineated
    Enriquez’s lay testimony and expert testimony, see Dkt. 3878
    (2/19/2020 Tr.) at 9:6-8; 18:3-4, and the Court gave a jury instruction
    regarding dual role testimony, Dkt. 3904, Instruction No. 17.
    Defendant also contends that Enriquez opined on “critical facts
    necessary to establish the elements of Count One; namely, the
    existence of the Mexican mafia as a RICO organization and its
    membership and structure.” Mot. at 13. First, as the government
    notes, the RICO organization here was the CRO and not the Mexican
    Mafia. Opp’n at 15. Additionally, the Court previously held that
    Enriquez was permitted to “distill[] and synthesiz[e] information to
    form an expert opinion.” 1/7/20 MIL Order at 13. That is what he did.
    In other words, because Enriquez “did not impart this information for
    its own sake, but to explain the basis for his expert opinion,” the
    testimony is admissible. See United States v. Vera, 770 F.3d 1232,
    1239 (9th Cir. 2014).

           Second, Defendant contends that co-defendant Sylvia Olivas was
    particularly prejudiced by Enriquez because he personally ordered “the
    murder of [Olivas’s] sister-in-law.” Mot. at 13. The Court previously
    determined that “[w]hile it may be true that permitting Enriquez to
    testify will be uncomfortable, and even painful, to Defendant and her
    family members, it is not government misconduct”; “[i]t does not
    deprive Defendant of her due process right to a fair trial and it does not
    impugn judicial integrity.” Dkt. 3657 (12/3/19 MIL Order). Defendant
    repeats the same arguments here that the Court considered – and
    rejected – when it ruled on the motion in limine. Nothing has changed
    to warrant reconsideration of that Order.




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         Defendant’s request for a judgment of acquittal or new trial
    based on the admission of Enriquez’s testimony is DENIED.

                              IV. CONCLUSION

        Defendant’s motion for a judgment of acquittal or new trial is
    DENIED.

       IT IS SO ORDERED.



     Date: October 19, 2021                ___________________________
                                           Dale S. Fischer
                                           United States District Judge




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